  Case 17-30112                Doc 242          Filed 04/21/17 Entered 04/21/17 12:05:39                                   Desc Main
                                                 Document     Page 1 of 9


B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                  DistrictDistrict
                                            __________     of NorthOfDakota
                                                                      __________

In re ________________________________,
      Vanity Shop of Grand Forks, Inc.                                                            Case No. ________________
                                                                                                            17-30112




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  B.E. Capital Management Fund LP
______________________________________                                       Joe Benbasset Inc.
                                                                            ____________________________________
          Name of Transferee                                                                            Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):priority portion of scheduled claim
should be sent:                                                             Amount of Claim:         $8,385.00
  205 East 42nd Street, 14th Floor                                          Date Claim Filed: priority portion of scheduled claim
  New York, NY 10017

         917-310-1206
Phone: ______________________________                                       Phone: 212-594-8440
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
                                                                                  04/13/2017
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 17-30112        Doc 242      Filed 04/21/17 Entered 04/21/17 12:05:39                    Desc Main
                                   Document     Page 2 of 9



                             PARTIAL TRANSFER OF CLAIM
                      (Federal Rule of Bankruptcy Procedure 3001(e)(l))

TO THE DEBTOR AND THE BANKRUPTCY COURT:

         For value received, the sufficiency of which is hereby acknowledged, Joe Ben basset Inc.
("Seller") hereby unconditionall y and irrev ocab ly se lls, transfers, and assigns to B.E. Capital
Management Fund LP ("Purchaser") all of Seller's right, title, and inter est in and to priority claim
und er 11 U.S.C. § 503(b)(9) (the "P riority Claim") related to Invoice Numbers 61119 and 61120
included in the scheduled claim against Vanity Shop of Grand Forks, Inc. (the "Debtor") in In
re Vanity Shop of Grand Forks, Inc. (Case No. 17-30112) in the amount of$8 ,385.00 pending in
the United States Bankrup tcy Court for the District of North Dakota (the "Ban kruptc y Cou rt").

        Seller hereby waives any objection to the transfer of the Claim on the book s and records
of the Debtor and the Bankruptcy Cou rt, and hereby waives any notice or right to a hearing as may
be imposed by Federal Rule of Bankruptcy Procedure 3001, the Bankruptcy Code, or other
applicable Jaw. Seller acknowledges, and hereby stipulates, that an order of the Bankruptcy Court
may be enter ed without further notice to Seller transferr ing the Claim to Purcha ser and recognizing
Purchaser as the so le owner and holder of such Claim.

        IN WITNESS WHEREOF, this Ev idence of Tran sfer of Claim is executed on April 7,
2017.

                                                   Joe Ben basset Inc.
                                                          CoA.e~£ M asser
                                                    By:   ~orev ;J;; ba•'-N tAµ 7 20171


                                                           Corey ___
                                                   Name: ___     Benbasset
                                                                        _ __              _

                                                            EVP Joe Benbasset
                                                   Title: ____      _____     Inc _ _
           Case 17-30112                                                      Doc 242     Filed 04/21/17 Entered 04/21/17 12:05:39                     Desc Main
                                                                                           Document     Page 3 of 9


                 _._. -·-
      ; :::;• · · --·-·
                          __.,,,
                                   · --
                                               ·-___
                                              ... .... -   ...   161
                                                                     ......
                                                                       -
                                                                                        Joe Benasset- Contract- 04 07 1
      :.:.·1.,   :--~ .+.- .._:-~:.·.::          ,.::~
                                                     J~=
      >  \M--...
      -.. ....
      __              "'...._
              ,. ....,..~ ....
      :-:-..::::::::.:':'.:!
                              ,,_- ......
                          ·__.,.      ..
                                    ·~--
                                 ~ - ....
                             ...__
                                          ,.... ·~..- ...
                                         ,.___..__
                                      1.. _
                                                   ....,...
                                            ai_,..,.
                                                ...., ..
                                                           -
                                                          -..
                                                         .....   ~
                                                                                        7
                                                                                        Adobe Sign Document History                           04/13/2017

                                                                                          Created :         04/07/2017

                                                                                          By:               Thomas Braziel (thomas@becapitalmanagement.com)
      - ,_
      .,._'
            ......-..1
      -. ..·- ·..
                   .---
                ......, ..
                          ~-· ---- __
                    _..•.,,_.,_,
                          . _..,,._...
                          --
                           ..._ , ___
                                         _-..., _ ·-.. .. .---· -.-
                                       ........,
                                       .. .._ ,.,, ,..
                                      ....
                                                                                          Status:           Signed

                                      ·-
                                      ~.:"- --
                                             -
                                                                                          Transaction ID:   CBJCHBCAABAAiUwZnOVXS9PWh3HS3rgs6b366ymxRAum




 "Joe Benasset_Contract_0407 17" History
 'El Document uploaded by Thomas Braziel (thomas@becapitalmanagement.com)                                                            from Acrobat
      04/07/2017 - 1:20:00 PM PDT- IP address: 63.119.182.163


 C:   Document emailed to corey benbasset {cbenbasset@joebenbasset.com) for signature
      04/07/2017 - 1:20:01 PM PDT


 'El Document viewed by corey benbasset                                                    (cbenbasset@joebenbasset.com)
      04/07/2017 - 1:21:22 PM PDT- IP address: 207.86.128.35


 60   Document e-signed by corey benbasset (cbenbasset@joebenbasset.com)
      Signature Date: 04/07/2017 - 1:22:25 PM PDT - Time Source: server- IP address: 207.86.128.35


G     Document emailed to Thomas Braziel (thomas@becapitalmanagement.com) for signature
      04/07/2017 - 1:22:26 PM PDT


 'El Document viewed by Thomas Braziel (thomas@becapitalmanagement.com)
      04/07/2017 - 1:30:34 PM PDT- IP address: 63.119.182.163


60    Document e-signed by Thomas Braziel (thomas@becapitalmanagement.com)
      Signature Date: 04/07/2017 - 1:31:29 PM PDT - Time Source: server- IP address: 63.119.182.163


0     Signed document emailed to corey benbasset (cbenbasset@joebenbasset.com) and Thomas Braziel
      (thomas@becapitalmanagement.com)
      04/07/2017 - 1:31:29 PM PDT




II    Adobe Sign
              Case
              Case 17-30112
                   17-30112                    Doc
                                               Doc 242
                                                   188            Filed
                                                                  Filed 04/21/17
                                                                        03/27/17 Entered
                                                                                  Entered 04/21/17
                                                                                           03/27/17 12:05:39
                                                                                                    19:15:28                                       Desc
                                                                                                                                                   Desc Main
                                                                                                                                                        Main
                                                                   Document
                                                                 Document      Page 163 of 9279
                                                                                 Page 4 of
 Debtor       Vanity Shop of Grand Forks, Inc.                                                        Case number (if known)            17-30112
              Name

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $89,992.20
          JIANGSU SAINTY GLORIOUS                                             Contingent
          5TH FLOOR, BUILDING #A                                              Unliquidated
          #21 SOFTWEAR AVE, YUHUA DISTRICT                                    Disputed
          NANJING, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          JOC INTERNATIONAL LTD
          ROOM 209                                                            Contingent
          8 SOUTH LIYUAN ROAD                                                 Unliquidated
          JANGNING DISTRICT                                                   Disputed
          NANJING, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,441.97
          JODI KRISTOPHER, LLC                                                Contingent
          5910 CORVETTE STREET                                                Unliquidated
          COMMERCE, CA 90040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,204.97
          JOE BENBASSET                                                       Contingent
          213 W. 35TH ST.                                                     Unliquidated
          NEW YORK, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.00
          JOHN'S GREAT AMERICAN                                               Contingent
          WINDOW CLEANING CO.                                                 Unliquidated
          PO BOX 155                                                          Disputed
          WHITELAND, IN 46184
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $211.00
          JOHN'S HEATING & A/C                                                Contingent
          1423 COLLEGE WAY                                                    Unliquidated
          FERGUS FALLS, MN 56537                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $589.51
          JOHNSON CITY POWER BOARD                                            Contingent
          PO BOX 2058                                                         Unliquidated
          JOHNSON CITY, TN 37605                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 120 of 173
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
Joe Benbasset Inc.  Case 17-30112 Doc 242                               Filed 04/21/17 Entered 04/21/17 12:05:39             Desc Main
                                                                         Document     Page 5 of 9                                                 INVOICE
213 W 35TH ST
                                                                                                                                        DATE                 NUMBER
NEW YORK, NY 10001 UNITED STATES
                                                                                                                                  02/07/17                  61119
SHIP TO                                                   BILL TO                                                 REMIT TO
Vanity Shop of Grand Fork                                 Vanity Shop of Grand Fork                               Joe Benbasset Inc.
VANITY SHOP OF GRAND FORKS                                Vanity Shop Accounts Payable                            213 W 35TH ST
1001 25TH STREET N.                                       P.O. BOx 547                                            NEW YORK, NY 10001 US
FARGO, ND 58102 US                                        FARGO, ND 58107 US                                      (212) 594-8440



STORE #   DEPT #   CUST. P.O. #      ACCT. NO.      REG. NO.    ORDER NO.     PICK NO.     SLSP TERMS:                SHIPPED VIA                        F.O.B.
DC 1      11       241968            VANITY        4704         52117        62666         KB    2% Net 60            FEDEX FREIGHT PRIORITY             ADS


Style: W832054                                   Color:    BK/WH                                Label:   VANITY                         Customer SKU
       zippered ankle pant                                 Black/White                          Dm/Pk:
                                      XXS     XS       S        M        L   XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    16       32       32   16                                           96              10.25                    984.00


Style: 9202054                                   Color:    BLACK                                Label:   VANITY                         Customer SKU
       zippered ankle pant                                 Black                                Dm/Pk:
                                      XXS     XS       S        M        L   XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    18       36       36   18                                          108               9.50                  1,026.00




                                                                                                                     Page            Units          Merchandise
                                                                                                                     Sub Totals         204                       2,010.00


                                                                                                                       Total Units      Sub Total                 2,010.00

                                                                                                                               204      Disc. Amount
                                                                                                                                        Freight/Ins.
                                                                             03/31/17 03:14:34 PM                        4 204.000                                2,010.00
                                                                                                                                        Total
                                                                                  Page: 1                           # CTNS     WEIGHT
Joe Benbasset Inc.  Case 17-30112 Doc 242                               Filed 04/21/17 Entered 04/21/17 12:05:39             Desc Main
                                                                         Document     Page 6 of 9                                                 INVOICE
213 W 35TH ST
                                                                                                                                        DATE                 NUMBER
NEW YORK, NY 10001 UNITED STATES
                                                                                                                                  02/07/17                  61120
SHIP TO                                                   BILL TO                                                 REMIT TO
Vanity Shop of Grand Fork                                 Vanity Shop of Grand Fork                               Joe Benbasset Inc.
VANITY SHOP OF GRAND FORKS                                Vanity Shop Accounts Payable                            213 W 35TH ST
1001 25TH STREET N.                                       P.O. BOx 547                                            NEW YORK, NY 10001 US
FARGO, ND 58102 US                                        FARGO, ND 58107 US                                      (212) 594-8440



STORE #   DEPT #   CUST. P.O. #      ACCT. NO.      REG. NO.    ORDER NO.     PICK NO.     SLSP TERMS:                SHIPPED VIA                        F.O.B.
DC 1      10       241991            VANITY        4846         56117        62532         KB    2% Net 60            FEDEX FREIGHT PRIORITY             ADS


Style: 9206854                                   Color:    CHAR                                 Label:   VANITY                         Customer SKU
       pull on 3 button pant                               Charcoal                             Dm/Pk:
                                      XXS     XS       S        M        L   XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    46       92       92   46                                          276               8.50                  2,346.00


Style: 9206854                                   Color:    BLACK                                Label:   VANITY                         Customer SKU
       pull on 3 button pant                               Black                                Dm/Pk:
                                      XXS     XS       S        M       L    XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    79      158     158    79                                          474               8.50                  4,029.00




                                                                                                                     Page            Units          Merchandise
                                                                                                                     Sub Totals         750                       6,375.00


                                                                                                                       Total Units      Sub Total                 6,375.00

                                                                                                                               750      Disc. Amount
                                                                                                                                        Freight/Ins.
                                                                             03/31/17 03:14:34 PM                       13 750.000                                6,375.00
                                                                                                                                        Total
                                                                                  Page: 1                           # CTNS     WEIGHT
Case 17-30112   Doc 242   Filed 04/21/17 Entered 04/21/17 12:05:39   Desc Main
                           Document     Page 7 of 9
                       Case 17-30112                 Doc 242          Filed 04/21/17 My
                                                                                     Entered
                                                                                        Profile   04/21/17
                                                                                                Support Locations 12:05:39
                                                                                                                      English         Desc     Main
                                                                                                                                       Search or tracking number
                                                                       Document     Page 8 of 9
                          Shipping          Tracking         Manage          Learn            FedEx Office ®                                                         Login

IMPORTANT!
FedEx is closely monitoring the situation of the collapsed bridge on Interstate 85 in Atlanta, GA. Learn More
                   ®
  FedEx Tracking

 393323806-1
 Ship date:                                                                                     Actual delivery:
 Tue 2/07/2017                                                                                  Fri 2/10/2017 9:59 am

 MEDLEY, FL US                                                Delivered                         FARGO, ND US
 Origin Terminal                                          Signed for by: B VALDEZ               Destination Location
 MEDLEY, FL                                                                                     WEST FARGO, ND




  Travel History
    Date/Time            Activity                                                                                  Location

    -    2/10/2017 - Friday
  9:59 am                Delivered                                                                                 FARGO, ND

  8:47 am                Out for delivery                                                                          WEST FARGO, ND
                         Manifest Number 487000072563
  8:39 am                At local facility                                                                         WEST FARGO, ND
                         Manifest Number 487000072563
  7:25 am                At local facility                                                                         WEST FARGO, ND

  3:33 am                In transit                                                                                ST PAUL, MN


    -    2/09/2017 - Thursday
  8:15 pm                In transit                                                                                MAUSTON, WI

  8:27 am                In transit                                                                                EVANSVILLE, IN

  3:17 am                In transit                                                                                NASHVILLE, TN


    -    2/08/2017 - Wednesday
  9:46 am                In transit                                                                                VALDOSTA, GA

  3:47 am                In transit                                                                                ORLANDO, FL


    -    2/07/2017 - Tuesday
  8:59 pm                In transit                                                                                MEDLEY, FL

  8:31 pm                Shipment exception                                                                        MEDLEY, FL
                         Shipment weight corrected
  4:25 pm                Picked up                                                                                 MEDLEY, FL




  Shipment Facts
  Tracking number             393323806-1                              Service                  FedEx Freight Priority
  Total pieces                17                                       Total shipment weight 745 lbs / 337.93 kgs
  Terms                       Third Party                              Purchase order
                                                                                                241968, 241991, 241968241991
                                                                       number
  Bill of lading number       FAR70104287
                                                                       Packaging                Skid
  Standard
                              2/10/2017
  transit




                                                                                                                                       Search or tracking number


 Customer Focus                        Featured Services                    Companies                                  Follow FedEx        United States - English
 New Customer Center                   FedEx Delivery Manager               FedEx Express
 Small Business Center                 FedEx SameDay                        FedEx Ground
 Service Guide                         FedEx Home Delivery                  FedEx Office
 Customer Support                      FedEx TechConnect                    FedEx Freight
                                       FedEx HealthCare Solutions           FedEx Custom Critical
 Company Information                   Online Retail Solutions              FedEx Trade Networks
 About FedEx                           Packaging Services                   FedEx Cross Border
 Careers                               Ancillary Clearance Services         FedEx Supply Chain
 Investor Relations
 Subscribe to FedEx email              Other Resources
                                       FedEx Compatible
                                       Developer Resource Center
                             FedEx Ship Manager Software
                    Case 17-30112
                             FedEx Mobile
                                          Doc 242 Filed 04/21/17 Entered 04/21/17 12:05:39                    Desc Main
                                                         Document Page 9 of 9
© FedEx 1995-2017                                                   Careers | Global Home | Site Map | fedex.com Terms of Use | Security and
                                                                   Privacy
